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                    8                                  UNITED STATES DISTRICT COURT

                    9                                         DISTRICT OF NEVADA

               10       JOSEPH L. MIZZONI,
                                                                                      Case No. 3:15-cv-00499-MMD-WGC
               11                             Plaintiff,

               12       vs.                                                         LIMITED NOTICE OF APPEARANCE

               13       STATE OF NEVADA, et al.,

               14                             Defendants.

               15              Pursuant to the Court’s Order (ECF No. 10), Adam Paul Laxalt, Attorney General of the State of

               16       Nevada, and Erin L. Albright, Deputy Attorney General, appear for the limited purpose of settlement

               17       discussions only on behalf of Defendant, Ira Brannon.

               18              Attorney General Adam Paul Laxalt should be removed from the CMECF notices on this Case.

               19              Dated this 23rd day of September, 2016.

               20                                                    ADAM PAUL LAXALT
                                                                     Attorney General
               21
               22                                                    By:
                                                                                ERIN L. ALBRIGHT
               23                                                               Deputy Attorney General
                                                                                Bureau of Litigation
               24                                                               Public Safety Division
               25                                                               Attorneys for Defendant
               26
               27
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Carson City, NV
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                          Case 3:15-cv-00499-MMD-WGC Document 11 Filed 09/23/16 Page 2 of 2




                    1                                      CERTIFICATE OF SERVICE
                    2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
                    3   on this 23rd day of September, 2016, I caused to be deposited for mailing a true and correct copy of the
                    4   foregoing, LIMITED NOTICE OF APPEARANCE, to the following:
                    5   Joseph L. Mizzoni #68549
                        High Desert State Prison
                    6
                        P.O. Box 650
                    7   Indian Springs, NV 89070

                    8
                    9
                                                                              _____________________________
               10                                                             An employee of the
                                                                              Office of the Attorney General
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